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                       UNITED STATES DISTRICT COURT FOR
                       THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
       VS.                                         )        CASE NO. 4:22CR114
                                                   )
SHERMAN SCOTT                                      )

                    ORDER ON MOTION FOR LEAVE OF ABSENCE

       This matter is before the Court on the defense counsel's Motion for Leave of Absence.

After careful consideration, said Motion is GRANTED for the following dates:

March 21, 2023       April 13, 2023        April 18, 2023         May 16, 2023

June 20, 2023        July 18, 2023         August 15, 2023

March 23, 2023 to March 28, 2023           June 13, 2023 to June 16, 2023


       SO ORDERED, this _____
                         20th day of 0DUFK 2023.
                                             023.

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